Case 1:22-cr-00012-WJM Document 215-1 Filed 07/12/22 USDC Colorado Page 1 of 1




                                             EXHIBIT A


        Witness Anna Grimley may testify that Lori Milliron made certain statements to

 Ms. Grimley in 2015. When evaluating the case against Ms. Milliron, it is for you to

 decide whether she made any statement and, if so, what weight to give whatever

 statement she made. However, any statements Ms. Milliron may have made to Ms.

 Grimley are to be considered only with regard to the charges against Ms. Milliron.

        With regard to the charges against Lawrence Rudolph, you cannot consider

 these alleged statements at all. In other words, as far as the charges against Dr.

 Rudolph are concerned, you cannot consider any statements Milliron may have made to

 Ms. Grimley. 1




        1
         This is a slightly modified version of the limiting instruction discussed in the Court’s July
 7, 2022 Order. (ECF No. 206 at 3.)
